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                                             Uniled States Department of Justice

                                            United States Attorney
                                            Southern District of West Virginia


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Apil 17,2020
Laura Flahive Wu
Covington & Burling LLC
850 Tenth Strcet, N.W.
Washington, D.C. 2000 1 -4956

       Re      Subpoena in City of Huntington v. AmerisourceBergen Drug Corp., et al.,
               Civil Action No . 3:17-01362, and Cabelt County Commission v.
               AmerisourceBergen Drug Corp., et al., Civil Action No. 3:17-01665
               (S.D. w. Va.)

Dear Ms. Wu:

I represent the United States, including the U.S. Federal Bureau of Investigation ("FBI'),
with respect to the subject case.

This letter responds to defendants' request and subpoenas for a deposition and documents
fiom FBI Agent Darren B. Cox regarding his work with the Huntinglon Violent Crime &
Drug Task Force ("Task Force"), which was served upon the United States on or about April
3, 2020, via a request for authorization made p ursuant to United States ex rel. Touhy v
Raeen, 340 U.5.462,468-70 (1951). Ex. A. Under 28 C.F.R. $ 16.22,1an the official
responsible for consulting with the FBI and authorizing any disclosure in response to your
request. Federal regulations require me to consider whether disclosure is appropriate under
the applicable rules ofprocedure and law concerning privilege. 28 C.F.R. g 16.26(a).

As a preliminary matter, DoJ has serious concems about defendants' decision to serve the
foregoing subpoenas-which seek information regarding Agent Cox's professional activities
and responsibilities-- on Agent cox at his home, rather than to ask the united states
Department of Justice ('DOJ') or the FBI to accept service on his behalf. In fact, we
understand that defendants' process server went to Agent Cox,s home on two separate
occasions and both times initiated in-person contact with both Agent cox and his spouse,
eventually serving the subpoenas on Agent cox personally. Such actions jeopardized the
health and safety ol Agent Cox and his family. Initiating such unnecessary person-to-
person contact with Agent Cox and his famity subjected them and the community to an
increased risk of covlD-I9 transmission, undermining the social distancing order issued by
the state of virginia on March 23, 2020. Moreover, by publicizing the home address of an
active FBI agent, defendants may have endangered Agent cox and his family and disrupted
his ongoing investigations and cases. In the future, when defendants seek discovery from
an employee 0r agent of the United States, hcluding DOJ, FBI, or the Drug Enforcement
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Administration C'DEA'), please comply with the process set forth in Fed. R. Civ. P. 4(i).
The United States reserves its right to challenge the subpoenas for improper service and other
defi ciencies if necessary.

We also question the timing of these subpoenas. The United States first received Touhy
requests from plaintiffs for discovery in the above-captioned cases back in October 2019.
Yet defendants waited five months-a month before the April 30, 2020 discovery cutoff and
in the midst of a global pandemic that has impacted the abilities of businesses and
govemment! including the FBI, to conduct business as usual - to serve these subpoenas. As
explained below, this national emergency renders the FBI unable to provide any substantive
responses to these subpoenas at the present time.

Defendants seek both documents and aMay 4,2020 deposition from Agent Cox, who worked
with the Task Force between approximately November 2012 and April 2015. Agent Cox
remains an active agent, but he left his Task Force assignment in 2015. Although in some
circumstances, the FBI has issued limited Touhy authorization for cunent and former agents
to give deposition testimony about certain activities during their past assignments, such
authorization is not possible here, at this time, for several reasons.

First, for the duration ofthis national emergency, Agent Cox is prohibited from attending an
in-person deposition due to, among other things, state stay-at-home and social distancing
orders. Second, with regard to the possible production of documents, the FBI is currently
not in a position to search for documents sought by the subpoena and to review and process
them.  I    As set forth in the attached Declaration of Nancy Wiegand (Exhibit B), the FBI
employees responsible for locating, reviewing, and processing responsive documents are not
currently working: they have not been designated as essential such that they must go to
work despite the national emergency, and they are not authorized to work remotely due to
their need to work with discovery tools and systems that can only be accessed in FBI space.
Thus, even ifarrangements for a telephonic or video deposition before a remote court reporter
were feasible, there would be no documents available to prepare Agent Cox for his deposition
or for the parties to use to depose him. And the United States would strenuously object to
Agent Cox appearing for a second or continued deposition if the FBI ultimately produces
documents in response to the subpoena.

Finally, I must make clear that once emergency conditions lift, the FBI is not committing to
produce any documents responsive to the subpoena or to authorize a deposition of Agent
Cox. The FBI is obligated to withhold documents or testimony that are classified or subject
to privileges and protections such as the attomey-client privilege, the work product doctrine,
the deliberative process privilege, and the informant's privilege. See 28 C.F.R. $
 16.26(bxl)-(5). The FBI is also prohibited from releasing information if "[d]isclosure

I Agent Cox has no documents responsive to the subpoena in his personal possession, custody, or control.
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would reveal investigatory records compiled for law enforcement purposes, and would
interfere with enforcement proceedings or disclose investigative techniques and procedures
the effectiveness of which would thereby be impaired." 28 C.F.R. $ 16.26(bX5). The
applicable regulations prohibit the FBI from disclosing offrcial information without express
DOJ authorization. 28 C.F.R. $ 16.22(a). The authority of federal agencies to regulate
the disclosure of information by their employees is well-established. Touhy, 340 U.S. at
468-70 (holding that federal employee could not be held in contempt for refusing to produce
subpoenaed documents when refusal was based on regulations prohibiting the disclosure of
official information without prior authorization.)

The foregoing concems and the unpredictable natue of this national emergency render the
FBI unable to commit to a timeline for a further response to defendants' third-party discovery
requests. We do not know when the FBI's discovery processing employees will be
authorized to come back to work, and do not know how long it may take them to locate and
review responsive documents after they resume operations. At that point, the FBI will
undoubtedly also be facing a significant backlog of competing requests received before and
during this time of national emergency.

Accordingly, due to the lack of resources and the current national emergency caused by the
COVID-I9 pandemic, the FBI can neither authorize nor deny your Touhy request for
documents by the retum date of April 20,2020, or the deposition of Agent Cox on May 4,
2020. We would be pleased to discuss with you an extension to these deadlines contingent
on the abatement of the national emergency and the retum to work of FBI's discovery
employees, or some other altemative resolution of these matters. Please contact Fred
Westfall at the U.S. Attomey's Office, Fred.Westfall@usa.doj.gov, and Lisa Hsiao at the
Department of Justice, Lisa.K.Hsiao@usdoj.gov to discuss any further questions or
concems.




                                    #bf*
                                      MICHAEL B. STUART
                                      United States Attomey
                                                                         J

                                      Southem District of West Virginia
                                      Acting Under Authority Conferred by 28 U.S.C. $ 515


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Enclosures
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